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                                                          U.S. Department of Justice

                                                          Nathaniel R. Mendell
                                                          Acting United States Attorney
                                                          District of Massachusetts
Main Reception: (617) 748-3100                            John Joseph Moakley United States Courthouse
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                                                          Suite 9200
                                                          Boston, Massachusetts 02210




                                                          November 1, 2021

VIA ELECTRONIC MAIL

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570 Lexington Avenue, Suite 3500
New York, NY 10022

          RE:       United States v. Charles Lieber
                    Case No. 19-cr-10111-RWZ

Dear Counsel,

        Pursuant to Fed. R. Crim. P. 16(a)(1)(G), the government hereby provides you with a
summary of the expert testimony that it may elicit during its case-in-chief in the above-referenced
matter. As noted below, the government does not believe that all of this testimony constitutes
expert testimony within the meaning of the Federal Rules of Criminal Procedure. However, to
avoid unnecessary disputes and trial delays, the government discloses the following summaries
out of an abundance of caution. Please note that the potential witnesses identified herein have not
reviewed or adopted these disclosures.

          1. Christopher Beckstrom – Federal Bureau of Investigation: Mr. Becktrom is a
             Forensic Examiner at the FBI’s New England Regional Computer Forensics
             Laboratory, Computer Analysis Response Team. His experience and qualifications are
             described in detail in the attached curriculum vitae. See USAO_010366.

               If called as a witness, Mr. Beckstrom will testify about the preservation, extraction, and
               forensic analysis of various electronic devices seized during the government’s
               investigation of the defendant, including devices seized from the defendant’s residence
               and his office at Harvard University on January 28, 2020 (identified in our discovery
               letter to you dated July 27, 2020). Mr. Beckstrom’s testimony will be based on his
               professional training and experience, including his familiarity with forensic computer
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   software and tools. Mr. Beckstrom’s testimony will also be based on his review
   computer files found on the defendant’s electronic devices.

2. Dr. Barry Naughton – University of California, San Diego: Dr. Naughton is a chair
   professor of economics at the School of Global Policy and Strategy at the University
   of California, San Diego. He academic specialization for nearly forty years has been
   the economy of the People’s Republic of China (“PRC”). He has published extensively
   on this topic. A copy of Dr. Naughton’s curriculum vitae, which includes a list of his
   relevant publications, is attached hereto. See USAO_010388 – 402.

   If called as a witness, Dr. Naughton will testify about the PRC government’s efforts to
   obtain foreign technology and technological know-how, including through the use of
   the Thousand Talents Program and related local talent programs. Dr. Naughton will
   testify that, from 1978 through 2010, China’s economy grew rapidly, but mainly
   because market reforms triggered the expansion of low-skill, labor-intensive sectors,
   manned by migrant workers from the countryside. By 2006, China was beginning to
   run out of unlimited cheap labor; wages were rising rapidly; and China was in danger
   of losing competitiveness. Recognizing that its own industries were technologically
   simple and far behind those in advanced countries, China looked for new technology
   to fuel more sophisticated industries that would serve as “new growth drivers.” As a
   result, the Chinese effort to acquire advanced technology was stepped up dramatically
   after 2006, when China put technology acquisition at the center of its economic
   development strategy.

   Dr. Naughton will testify that during this time, China took steps to upgrade and expand
   key industrial and technological and sectors, including the area of materials science. In
   December 2008, for example, China adopted a plan for attracting overseas scientists
   and engineers to China, which became known as the “Thousand Talents Program”
   (“TTP”), since it called for the central government to attract one thousand top level,
   primarily Chinese American, scientists. Beginning in 2010, these programs began to
   be incorporated into China’s Five-Year Plans (a national plan, widely publicized in
   China every five years, that covers the country’s general economic, social,
   environmental and technological development strategy). In 2015, the “Made in China
   2025” policy outlined a program of industrial upgrading. These programs were
   extensively publicized in the Chinese press at the time, and all are available as official
   documents. However, after 2016, when these programs elicited international
   controversy, most detailed plans, as well as references to the “Thousand Talents”
   program, were removed from the internet.

   It is Dr. Naughton’s opinion that that the TTP is an important component in the overall
   Chinese government technology acquisition program. Building on a few pilot
   programs, the first full-fledged central government TTP was launched in December
   2008. In the beginning, the objective of TTP was to bring to China “high level” talent,
   which for this “top tier” program was defined as senior scholars, under 55, tenured at
   prestigious universities, with distinguished publication records and international
   reputations. These exceptional scholars were expected to build “long-run” research
   programs. It was designed to counteract the tendency for the most successful Chinese

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          students in the US to remain and pursue their professional careers here. The initial
          objective was to bring 1,000 such individuals over the course of ten years. The program
          immediately conferred enormous prestige and visibility on recipients, and was known
          by everybody in the Chinese science, technology, and social science academic
          communities. The TTP subsequently expanded at both the central and local levels —
          many provinces and large cities have, under the direction of the central government,
          implemented their own TTPs — with short-term programs complementing the basic
          long-term program. The TTP’s objectives also expanded to include less ambitious
          types of technology transfer and human resource improvement. While most TTP
          grantees are Chinese or Chinese American, a small number of TTP participants are
          non-Chinese.

          The TTP confers very substantial benefits on its grantees. The original program
          provided for an initial 1 million RMB payment (about $150,000 USD at 2020 exchange
          rates). The headline payment was just part of the benefits. Grantees received high
          salaries agreed by their employers as well as generous research support (contractually
          specified in advance and typically 3 to 5 times the initial bonus). Grantees also received
          supplements to pensions, as well as insurance, housing allowances, and other benefits.
          Junior and short-term versions of the TTP receive proportionate, but smaller, benefits.

          Dr. Naughton will testify that the contract emailed to Charles Lieber at various points
          in 2012 entitled “‘One Thousand Talent’ High Level Fortign [sic] Expert” (see, e.g.,
          USAO_000200) is entirely consistent with the TTP. Specifically, Dr. Naughton will
          testify that the stated duration of the contract, Dr. Lieber’s obligations under the
          contract, and Wuhan University of Technology’s (“WUT”) obligations under the
          contract (including its payment obligations) are all consistent with the structure, goals
          and aims of the TTP. It is Dr. Naughton’s opinion that Dr. Lieber, in particular, was a
          highly attractive TTP candidate because of his area of expertise (nanoscience), his
          prominence in his field, and his affiliation with a top-ranked American university. It
          is Dr. Naughton’s opinion that Dr. Lieber’s association with WUT — a mid-tier
          Chinese university — would have benefitted the school greatly by, among other things,
          raising WUT’s national ranking and increasing the likelihood that WUT received
          funding from China’s national government.

          Dr. Naughton’s testimony will be based on his education, his review of publicly-
          available materials concerning the TTP, conversations with TTP grantees, his review
          of USAO_000200 (and/or other iterations of this document found elsewhere in
          discovery), and more than 20 years of research on China’s science, technology and
          industry policies (to include China’s technology acquisition efforts of the last 20 years).

       Additionally, the government expects that one or more Chinese linguists employed by the
Federal Bureau of Investigation will testify about documents and other materials found on the
defendant’s electronic devices, as well as Chinese language documents found at the defendant’s
residence. Such documents include, but are not limited to, USAO_000200 (and other iterations of
this document found elsewhere in discovery) and USAO_002047. The government does not
believe that such testimony constitutes expert testimony and is disclosing it here out of an
abundance of caution. The government will provide final translations of any Chinese language

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documents that it intends to use at trial sufficiently in advance of the trial, but no later than the
agreed-upon deadline for disclosing trial exhibits. The government will disclose the identity of its
translators at that time.

       Please contact the undersigned Assistant U.S. Attorneys if you have any questions.

                                                        Very truly yours,

                                                        NATHANIEL R. MENDELL
                                                        Acting United States Attorney

                                              By:       /s/ Jason A. Casey
                                                        Jason A. Casey
                                                        James R. Drabick
                                                        Assistant U.S. Attorneys

Enclosure




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